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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION



 RO-MA HOLDINGS #2, LLC,

                Plaintiff,                                 Case No. 1:20cv20252
 vs.

 SCOTTSDALE INSURANCE COMPANY,

                Defendant

                                                      /

                      SIC’S ANSWER AND AFFIRMATIVE DEFENSES

        Defendant, Scottsdale Insurance Company, (“SIC”), responds to the Complaint filed by

 the Plaintiff, Ro-Ma Holdings #2, LLC, as follows:

                                             ANSWER

        1.      Admitted for jurisdictional purposes only. Otherwise, denied.

        2.      Without knowledge, therefore, denied.

        3.      Admitted that SIC issues policies in Miami-Dade County, Florida pursuant to

 Florida’s Surplus Lines Law, Fla. Stat. §§ 626.913-626.937. Otherwise, denied

        4.      Admitted that venue is proper in Miami-Dade County, Florida. Otherwise, denied.

        5.      Denied.

                                   GENERAL ALLEGATIONS

        6.      Admitted that SIC issued to Ro-Ma Holdings #2, LLC, the Commercial Property

 Policy No. CPS2687066, effective from April 15, 2017 to April 15, 2018 (the “Policy”), and that

 the Policy speaks for itself. Otherwise, denied.




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        7.      Admitted that Defendant is in possession of the subject Policy and that it has

 previously been provided to the insured. Otherwise, denied.

        8.      Admitted that the subject property is located at 6340 SW 8th Street, Miami, FL

 33144 and that the Policy speaks for itself. Otherwise, denied.

        9.      Admitted that the Policy was in effect on September 10, 2017. Otherwise, denied.

        10.     Admitted that SIC designated Claim No. 01859718. Otherwise, denied.

        11.     Denied.

        12.     Denied.

        13.     Denied. SIC issued the policy pursuant to Florida’s Surplus Lines Law, Fla. Stat.

 §§ 626.913-626.937, and is therefore not subject to Fla. Stat. Ch. 627, including § 627.428.

                            COUNT I – BREACH OF CONTRACT

        14.     SIC incorporates paragraphs 1-13.

        15.     Admitted that the Policy speaks for itself.

        16.     Admitted that the insured paid the premium and the Policy was therefore in effect.

 Otherwise, denied.

        17.     Denied.

        18.     Denied.

        19.     Denied.

        20.     Denied.

                            COUNT II- DECLARATORY RELIEF

        21.     SIC incorporates paragraphs 1 through 13.

        22.     Denied.

        23.     Denied.

        24.     Denied.

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        25.     Denied.

        26.     Denied.

        27.     Denied.

                                   AFFIRMATIVE DEFENSES

        First Affirmative Defense: The Plaintiff fails to state a cause of action for declaratory

 relief upon which relief may be granted.

        Second Affirmative Defense: The Policy excludes coverage for damage caused, whether

 directly or indirectly and/or in whole or in part, by wear and tear. To the extent the property was

 damaged due to wear and tear, it is not covered. CP 10 30 (10-12).

        Third Affirmative Defense: The Policy excludes coverage for damage caused, whether

 directly or indirectly and/or in whole or in part, by rust or other corrosion, decay, deterioration,

 hidden or latent defect or any quality in property that causes it to damage or destroy itself. To the

 extent the property was damaged due to corrosion, deterioration, and/or decay, it is not covered.

 CP 10 30 (10-12).

        Fourth Affirmative Defense: The Plaintiff seeks damages for losses unrelated to the

 alleged loss. To the extent Plaintiff seeks damages for unrelated losses, no coverage is provided

 under this claim.

        Fifth Affirmative Defense: The Policy excludes coverage for damage caused, whether

 directly or indirectly and/or in whole or in part, by settling, cracking, shrinking or expansion. To

 the extent the property was damaged due to settling, cracking, shrinking or expansion, it is not

 covered. CP 10 30 (10-12).

        Sixth Affirmative Defense: The Policy covers interior damage resulting from rain only

 where the roof or walls first sustain damage due to a Covered Cause of Loss through which the




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 rain enters. Since the property did not first sustain damage due to a Covered Cause of Loss, any

 interior damage is not covered. CP 10 30 (10-12).

        Seventh Affirmative Defense: The Policy requires the Plaintiff to comply with a number

 of conditions, including but not limited to providing prompt notice of the loss and cooperating in

 SIC’s investigation. The Plaintiff failed to comply, prejudicing SIC, and therefore cannot recover

 benefits. The Plaintiff notified SIC of the loss over 14 months after it allegedly occurred.

 Additionally, although SIC requested any information and documents that should be considered,

 the Plaintiff provided no information regarding repairs to the roof and interior made following

 the date of loss. Plaintiff failed to comply with a number of conditions under the Policy,

 therefore no coverage is afforded under the Policy. CP 00 10 (10-12).

        Eighth Affirmative Defense: The Policy excludes coverage for damage caused by

 faulty, inadequate, or defective maintenance. To the extent the Plaintiff seeks damage caused by

 defective maintenance, it is not covered. CP 10 30 (10-12).

        Ninth Affirmative Defense: The Policy does not provide coverage for other structures.

 Plaintiff’s estimate includes damages to other structures. To the extent Plaintiff attempts to

 recover benefits for damages to structures other than the dwelling/building located at 6340 SW

 8th Street, Miami , FL 33144, it is not covered.

        Tenth Affirmative Defense: SIC issued the policy pursuant to Florida’s Surplus Lines

 Law, Fla. Stat. §§ 626.913-626.937, and is therefore not subject to Fla. Stat. Ch. 627, including §

 627.428.

        Eleventh Affirmative Defense: Any benefits afforded are subject to the Policy’s

 $4,500.00 wind deductible. Damage that fails to exceed the deductible is not covered. UTS-183g

 (12-16).



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        Twelfth Affirmative Defense: Plaintiff’s Complaint contains insufficient information to

 permit SIC to raise all appropriate defenses. SIC therefore reserves the right to amend or

 supplement its answer and defenses.



                                CERTIFICATE OF SERVICE

        I CERTIFY that the foregoing document is being served on January 28, 2020 via Florida

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